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                                               #:95



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 5
 6 Attorneys for Plaintiffs
     Matin Samimiat, Annaliese Hutchings,
 7 and Young America’s Foundation
 8
                                  UNITED STATES DISTRICT COURT
 9
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
     MATIN SAMIMIAT, et al.,                               ) Case No. 8:25-cv-1098 FWS (ADSx)
12                                                         )
                                 Plaintiffs,               ) NOTICE OF SETTLEMENT
13                          v.                             )
                                                           )
14 STEPHANIE SMALLSHAW,                                    )
                                                           )
15                               Defendant.                )
                                                           )
16

17
18                                       NOTICE OF SETTLEMENT
19
         The Parties, by and through their counsel of record, hereby notify the Court that
20
     they have reached a settlement in the above-entitled matter. The Parties hereby
21
     request that the Court vacate all pending due dates and hearings and retain
22
     jurisdiction over this case until Defendants can fully perform their duties as required
23
     under the settlement agreement. It is estimated that Defendants will fully perform
24
     their duties by August 1, 2025. Upon Defendants’ completion of their duties (as
25
     mandated under the settlement agreement) and within ten days after said completion,
26
     Plaintiffs will file a notice of dismissal with prejudice.
27
28

     Notice of Settlement                              1               Case No.: 8:25-cv-1098 FWS (ADSx)
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                                          #:96



 1
     Dated: July 17, 2025                     CALLAHAN & BLAINE, PC
 2
 3                                            By: /s/ David J. Darnell
                                                  David J. Darnell
 4                                                John D. Stanley
                                                  Attorneys for Defendant STEPHANIE
 5                                                SMALLSHAW

 6
 7 Dated: July 17, 2025                       INSTITUTE FOR FREE SPEECH
 8
                                              By: /s/ Alan Gura
 9                                                Alan Gura
                                                  Attorneys for Plaintiffs MATIN
10                                                SAMIMIAT, ANNALIESE
                                                  HUTCHINGS, and YOUNG AMERICA’S
11                                                FOUNDATION
12
13
14           Attestation pursuant to L.R. 5-4.3.4(a)(2)(i) regarding signatures:
15           I, Alan Gura, attest that all other signatories listed, and on whose behalf this
16 filing is submitted, concur in the filing’s content and have authorized the filing of this

17 document with the use of their electronic signature.
18

19 Dated: July 17, 2025                       INSTITUTE FOR FREE SPEECH

20
                                              By: /s/Alan Gura
21                                                Alan Gura
                                                  Attorneys for Plaintiffs MATIN
22                                                SAMIMIAT, ANNALIESE
                                                  HUTCHINGS, and YOUNG AMERICA’S
23                                                FOUNDATON

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25
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     Notice of Settlement                         2               Case No.: 8:25-cv-1098 FWS (ADSx)
